Case 5:20-cv-02332-JWH-KK Document 113-5 Filed 05/16/22 Page 1 of 1 Page ID #:2397


  From: gsimas@vgcllp.com
Subject: RE: Diaz v. Heredia: Draft Protective Order
   Date: February 4, 2022 at 10:20 AM
     To: Eric Montalvo emontalvo@fedpractice.com, Eric Clarke eclarke@inceptionreit.com, Rajan Dhungana rdhungana@fedpractice.com
    Cc: James Greeley jgreeley@vgcllp.com, Christy Jones cjones@vgcllp.com, Diyari Vazquez dvazquez@vgcllp.com


       All,

       I’m just following up on this because I never heard back from you. Please confirm receipt
       and advise whether you have any changes. If not, please execute. We will get it on file
       after that. Thanks.

       Sincerely,

       Gina

       From: gsimas@vgcllp.com <gsimas@vgcllp.com>
       Sent: Wednesday, February 2, 2022 2:08 PM
       To: 'Eric Montalvo' <emontalvo@fedpractice.com>; 'Eric Clarke'
       <eclarke@inceptionreit.com>; 'Rajan Dhungana' <rdhungana@fedpractice.com>
       Cc: 'James Greeley' <jgreeley@vgcllp.com>; 'Christy Jones' <cjones@vgcllp.com>;
       'Diyari Vazquez' <dvazquez@vgcllp.com>
       Subject: Diaz v. Heredia: Draft Protective Order

       All,

       During our meet and confer last week, I agreed to provide you with a draft Joint
       Stipulation for Protective Order It is attached. Please review. If acceptable, please sign
       and return. We will thereafter sign and file it with the Court. If you have any questions,
       please let me know. Thanks.

       Sincerely,

       Gina

       Gina Simas l Litigation Partner




       1515 7th Street, No. 106
       Santa Monica, CA 90401
       T: 424 272 9855
       www.vgcllp.com

       The contents of this e-mail message and its attachments are intended solely for the addressee(s). This e-mail transmission may be
       confidential and subject to privilege protecting communications between attorneys or solicitors and their clients. If you are not the
       named addressee, or if this message has been addressed to you in error, you are directed not to read, disclose, reproduce, distribute,
       disseminate or otherwise use this transmission. Delivery of this message to any person other than the intended recipient(s) is not
       intended in any way to waive privilege or confidentiality. If you have received this transmission in error, please alert the sender by reply
       e-mail; we also request that you immediately delete this message and its attachments. UNAUTHORIZED
       INTERCEPTION PROHIBITED BY FEDERAL LAW (18 U.S.C. 2510-2522).
